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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

RE:                                                  )
                                                     )
EASTERN LIVESTOCK CO., LLC                           )       CHAPTER 11
                                                     )       CASE NO. 10-93904-BHL-11
                                                     )
                               DEBTOR                )


                                           APPEARANCE

       Come now Susan K. Roberts of Stuart & Branigin LLP, and enters her Appearance as

counsel on behalf of Rex Elmore, and request that said attorneys’ names and address be added to

the Clerk's mailing matrix in this case.


                                                     /s/     Susan K. Roberts
                                              SUSAN K. ROBERTS
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                                 CERTIFICATE OF SERVICE

         I certify that on the 12th day of April, 2011, service of a true and complete copy of the
above and foregoing pleading or paper was filed electronically. Notice of this filing will be sent
to all counsel of record by operation of the Court’s electronic filing system. Parties may access
this filing through the Court’s system.

                                                   /s/   Susan K. Roberts
                                              SUSAN K. ROBERTS
